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IN THE UNITED STA'I`ES ])ISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISI()N
ROBERT TERWILLIGER,
PLAINTIFF,
V¢
Case No.

CAPITAL ONE BANK (USA), N.A.,

DEFENDANT.

 

 

NOTICE OF REMOVAL

 

Pursuant to 28 U.S.C. §§ 1331, 1367, 1441 and 1446, Defendant Capital One
Bank (USA), N.A. (Capital One), gives notice of the removal of this action from the
County Court for Hillsborough County, Florida, to the United States District Court for
the Middle District of Florida, Tampa Division, stating as follows:

1. INTRODUCTION

1. On December 16, 2016, Plaintiff Robert Terwilliger commenced this action
by filing a Complaint in the County Court for Hillsborough County, Florida, Case
Number 16~CC-04l369. True and correct copies of all process, pleadings and orders
Served on Capital One is attached hereto as Exhibit A.

2. In the Complaint, Plaintiff alleges that Capital One placed telephone calls
to Plaintiff in attempt to collect a debt. (Complaint, 1]1[ 12-14). Specif`ically, the

Complaint alleges Capital One made calls to Plaintiff‘s cellular telephone using an

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automatic telephone dialing system after Plaintiff asked Capital One to stop contacting
him from an automated dialer. (Complaint, W 16~22). Plaintiff alleges that Capital One
continued to contact him from an automated dialer. (Complaint, 11 21). As a result of this
purported conduct, Plaintift` brings claims against Capital One for violations of the
Telephone Consumer Protection Act (TCPA), 47 U.S.C. § 227 er seq., and the Florida
Consumer Collection Practices Act (FCCPA), § 559.55, et seq. (See generally Complaint,
Couan 1 - n).l

3. Capital One received a copy of thc Sumrnons and Complaint on Deceinber
27, 2016. This Notice of Removal is timely under 28 U.S.C. § 1446, since it is filed With
30 days of the date that Capital One received a copy of the pleading setting forth the
claim for relief upon which the action is based.

4. This Court has federal question jurisdiction over this matter pursuant to 28
U.S.C. §§ 1331, 1367; 1441 and 1446 because the lawsuit places at issue claims arising
under a law of the United States.

II. FEDERAL JURISDICTION
A. Federal Ouestion Jurisdiction Exists Over This Action.

5. This action may be removed pursuant to 28 U.S.C. § 1441(a) because the
Court has original jurisdiction under 28 U.S.C. § 1331.
6. Specitically, federal district courts have "original jurisdiction of all civil

actions arising under the Constitution, laws, or treatises of the United States." 28 U.S.C. §

 

‘ Nothing in this Notice of Removal should be in any way construed as an admission by Capital
One that Plaintiffs claims have any merit whatsoever. Capital One denies that Plaintit`f is entitled
to any judgment, damages, relief, and/or award and demands strict proof thereof

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1331. Removal based on "federal-question jurisdiction is governed by the 'well»pleaded
complaint rule,1 which provides that federal jurisdiction exists [] when a federal question
is presented on the face of the plaintist properly pleaded coinplaint." Caferpillar fnc. v.
Williams, 482 U.S. 386, 392, 107 S. Ct. 2425, 2429, 96 L. Ed. 2d 318 (1987) (alteration
added).

7. PlaintifF s Complaint purports to assert a claim for violation of the
Telephone Consumer Protection Act (TCPA), 47 U.S.C. § 227 et seq. (See Complaint,
Count I.)

8. The United States Supreme Court has held that TCPA claims give rise to
federal question jurisdiction See Mz'ms v. ArrOt-v Financz'al Se)‘vices, LLC, U.S. ---,
132 S.Ct. 740, 745, 181 L.E.Zd 881 (2()12); see also Balthazar v. Central Credit Servz'ces,
lnc., 475 Fed. Appx. 716 (11th Cir. 2012).

9. Because Plaintiff asserts a claim arising under, and for alleged violations
of, federal law, this Court has federal question jurisdiction over these claims pursuant to
28 U.S.C. §§ 1331 and 1441(b).

B. Supplemental Jurisdiction Exists Over Plaintiff’ s Remaining Claims.

10. This Court should exercise supplemental jurisdiction over Plaintiff’ s
FCCPA claim under section 559.72 of the Florida Statutes because these claims form part
of the same case or controversy as Plaintiff‘s TCPA claims. (See generally Complaint).

11. The supplemental jurisdiction statute, 28 U.S.C. § l367(a), provides in

pertinent part as follows:

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[l]n any civil action of which the district courts have original jurisdiction,
the district courts shall have supplemental jurisdiction over all other claims
that are so related to claims in the action within such original jurisdiction
that they form part of the same case or controversy . . . .

28 U.S.C. § 1367(a).

12. Plaintiff’ s FCCPA claim is related to the same alleged activity that forms
the basis for Plaintiff’s TCPA claims, i.e., alleged telephone calls made in connection
with the collection of Piaintiff’ s account. (Complaint, 1111 30-31). See also 28 U.S.C. §
1367.

13. Capital One expressly consents to this Court's jurisdiction over Plaintiff"s
FCCPA claim.

14. Accordingly, this claim is related to Plaintiff‘s federal question claim, and
thereby form a part of the same case and controversy pursuant to 28 U.S.C. § 1367(a).

III. PROCEDURAL REQUIREMENTS

15. No prior application has been made for the relief requested herein.

16. The United States District Court for Middle District of Florida, Tampa
Division, embraces the place where this action was pending in State Court.

17. Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being
served upon counsel for Plaintiff, and a copy of this Notice of Removal, along with a
Notice of Filing Notice of Retnoval, will be filed with the Clerk of the County Court for
Hillsborough County, Florida.

18. All prerequisites for removal, as set forth in 28 U.S.C. § 1441, have been

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19. True and correct copies of all process, pleadings and orders served on
Capital One is attached as Exhibit 1. See 28 U.S.C. § 1446(a).

20. True and correct copies of all process, pleadings and orders served on
Capital One are attached as Exhibit A. See 28 U.S.C. § l446(a).

2l. Pursuant to Local Rule 4.02(b), true and correct copies all process,
pleadings, orders, and other papers or exhibits of every kind, including depositions on file
in the state court are attached hereto as Exhibit B.

22. Nothing in this Notice of Removal shall be interpreted as substantially
invoking the litigation process or as a tvaiver or relinquishment of Capital One's right to
assert any defense or affirmative matter, including, but not limited to, the defenses of: (1)
lack of jurisdiction over the person; (2) insufficiency of process; (3) insufficiency of
service of process; (4) improper joinder of claims and/or parties; (5) failure to state a
claim; (6) the mandatory arbitrability of some or all of the claims; (7) failure to join
indispensable parties; or (8) any other pertinent defense available under Fla. R. Civ. P.
1.1l0 and 1.140 or Fed. R. Civ. P. 8 and 12, any state or federal statute, or otherwise

23. To the extent remand is sought by Plaintiff or otherwise visited by this
Court, Capital One requests the opportunity to brief the issues and submit additional

arguments and evidence, to be heard at oral argument

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WHEREFORE, Capital One prays that this Court take jurisdiction of this action
and issue all necessary orders and process to remove this action from the County Court
for Hi]lsborough County, Florida, to the United States District Court for the Middle

District ofFlorida, Tampa Division.

Dated: January 17, 2016

pectfully Submitted,
engage

jLaura Westerman Tanner, Esquire (FL Bar No.
e 85573)

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CERTIFICATE OF SERVICE

l hereby certify that on this the 17th day of January, 2017, a copy of the foregoing
has been sent to counsel by U.S. Mail, postage prepaid

Ryan C. Torrens, Esq.
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k/LAURA WESTERMAN TANNER

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